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                14 Telecommunications America, LLC

                15                               UNITED STATES DISTRICT COURT

                16                           NORTHERN DISTRICT OF CALIFORNIA

                17                                      SAN JOSE DIVISION

                18 APPLE INC., a California corporation,            CASE NO. 11-cv-01846-LHK
                19              Plaintiff,
                20           vs.                                    RESPONSE TO COURT ORDER
                21 SAMSUNG ELECTRONICS CO., LTD., a                 REGARDING JUSTIN DENISON
                                                                    FLIGHT INFORMATION
                22 Korean business entity; SAMSUNG
                   ELECTRONICS AMERICA, INC., a New
                   York corporation; SAMSUNG
                23 TELECOMMUNICATIONS

                24 AMERICA,    LLC, a Delaware limited liability
                   company,
                25                 Defendants.
                26
                27

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                                                                                      Case No. 11-cv-01846-LHK
02198-51855/10137509.1                RESPONSE TO COURT ORDER REGARDING JUSTIN DENISON FLIGHT INFORMATION
                         Case 5:11-cv-01846-LHK Document 3771-3 Filed 05/17/18 Page 2 of 2




                  1          Pursuant to the Court’s order, Samsung attaches three flight itineraries for Mr. Denison, and

                  2 associated electronic receipts. The first set of tickets were purchased on April 3, 2018 and had the

                  3 return date of May 18, after his expected testimony. See Exhibit A. On April 26, Mr. Denison made

                  4 a change to his arrival date. That change did not alter his return schedule—he remained booked on

                  5 a return flight on May 18. See Exhibit B.

                  6          Mr. Blackard completed his testimony at approximately 10:00 a.m. this morning.

                  7 Thereafter, at 10:21 a.m., May 17, 2018, Mr. Denison changed his travel plans to return to Dallas

                  8 today. See Exhibit C.

                  9

                10

                11 DATED: May 17, 2018                          Respectfully submitted,

                12                                              QUINN EMANUEL URQUHART &
                                                                SULLIVAN, LLP
                13

                14
                                                              By /s/ Victoria F. Maroulis
                15                                              John B. Quinn
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                17                                              Kevin P.B. Johnson
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                                                                 LTD., SAMSUNG ELECTRONICS AMERICA,
                20                                               INC., and SAMSUNG TELECOMMUNICATIONS
                                                                 AMERICA, LLC
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02198-51855/10137509.1                  RESPONSE TO COURT ORDER REGARDING JUSTIN DENISON FLIGHT INFORMATION
